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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                                   EASTERN DIVISION

 Young Americans for Freedom, Young
 America’s Foundation, Avery Durfee, and
 Benjamin Rothove,
                                                                   ORDER DENYING
                                  Plaintiffs,                  MOTION FOR PRELIMINARY
                                                                     INJUNCTION
         vs.
                                                                      Case No. 3:24-cv-163
 U.S. Department of Education and Miguel
 Cardona,

                                  Defendants.



        The Ronald E. McNair Postbaccalaureate Achievement Program (the “McNair Program”)

was established by Congress in 1987. The McNair Program, administered by the United States

Department of Education, along with participating higher education institutions, was “designed to

provide disadvantaged college students with effective preparation for doctoral study.” 20 U.S.C.

§ 1070a-15(a). It does this, in part, by providing financial assistance to Program participants. But

to participate in the McNair Program, a student must be eligible. The statute has two eligibility

paths: one for students who are low-income, first-generation college students, and another for

students who belong to an underrepresented group in graduate education. “Underrepresented” is

defined by statute and regulation to include only certain races. It is the racial eligibility criteria that

the Plaintiffs assert is unlawful under the Equal Protection Clause. They move to enjoin the

Department of Education from enforcing the racial eligibility criteria.

I.      BACKGROUND

        The Plaintiffs are two organizations and two students: the Young America’s Foundation,

Young Americans for Freedom, Avery Durfee, and Benjamin Rothove. The Young America’s
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Foundation and Young Americans for Freedom are national student organizations. Doc. 1, p. 3.

Young Americans for Freedom has a chapter at the University of North Dakota (“UND”) and the

University of Wisconsin-Madison (“UW-Madison”). Id. at 3, 14. Avery Durfee is a third-year

student at UND and a member of the UND Young Americans for Freedom Chapter. Id. at 3.

Benjamin Rothove is a sophomore political science and economics student at UW-Madison and a

member of the Young Americans for Freedom. Id. at 4. The Defendants are the Department of

Education and its current Secretary, Miguel Cardona. Id. at 4-5. The Department administers the

McNair Program, with participating higher education institutions, pursuant to 20 U.S.C. § 1070a-

15 and 34 C.F.R. § 647.

       The McNair Program provides students with resources such as “opportunities for research

or other scholarly activities,” internships, seminars, tutoring, academic counseling, and “activities

designed to assist students participating in the project in securing admission to and financial

assistance for enrollment in graduate programs.” 20 U.S.C. § 1070a-15(b). The Program also

permits funding to be used for “education or counseling services designed to improve the financial

literacy and economic literacy of students,” mentoring, and “exposure to cultural events and

academic programs not usually available to disadvantaged students.” 20 U.S.C. § 1070a-15(c).

       The admission and funding mechanics under the McNair Program are layered. They

involve the Department, as the federal agency on the one hand, and participating higher education

institutions, on the other. For the Department’s part, it awards monetary grants to higher education

institutions that apply for funding “to carry out McNair projects.” 34 C.F.R. § 647.2. These

competitive grants are awarded every five years. The latest round of grants was awarded in 2022,

which means the Department will not award any further grants until 2027. Doc. 9-1, p. 3; 20 U.S.C.

§ 1070a-11(b). To apply for funding, the higher education institutions must provide:



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       (1) an assurance that not less than two-thirds of the individuals participating in the
       project proposed to be carried out under any application be low-income individuals
       who are first generation college students;
       (2) an assurance that the remaining persons participating in the project proposed to
       be carried out be from a group that is underrepresented in graduate education,
       including--
               (A) Alaska Natives, as defined in section 7546 of this title;
               (B) Native Hawaiians, as defined in section 7517 of this title; and
               (C) Native American Pacific Islanders, as defined in section 1059g of this
               title;
       (3) an assurance that participants be enrolled in a degree program at an eligible
       institution having an agreement with the Secretary in accordance with the
       provisions of section 1094 of this title; and

       (4) an assurance that participants in summer research internships have completed
       their sophomore year in postsecondary education.

20 U.S.C. § 1070a-15(d). The Department also requires, like 20 U.S.C. § 1070a-15(d), a student

receiving financial assistance be:

       (1) A low-income individual who is a first-generation college student;
       (2) A member of a group that is underrepresented in graduate education; or
       (3) A member of a group that is not listed in § 647.7 if the group is underrepresented
       in certain academic disciplines as documented by standard statistical references or
       other national survey data submitted to and accepted by the Secretary on a case-by-
       case basis.

34 C.F.R. § 647.3(c). “Low-income” is defined as “an individual whose family’s taxable income

did not exceed 150 percent of the poverty level . . . .” 34 C.F.R. § 647.7. “Groups underrepresented

in graduate education” are:

       Black (non-Hispanic), Hispanic, American Indian, Alaskan Native (as defined in
       section 7306 of the Elementary and Secondary Education Act of 1965, as amended
       (ESEA)), Native Hawaiians (as defined in section 7207 of the ESEA), and Native
       American Pacific Islanders (as defined in section 320 of the HEA).

34 C.F.R. § 647.7.

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        The higher education institutions’ have flexibility in both the development and application

of the McNair Program criteria. The institutions can add other, additional requirements, or, as some

institutions currently do, the institutions can elect to not apply the racial eligibility criteria and only

admit participants via the low-income, first-generation eligibility criteria. Doc. 9, p. 13. Relevant

here, UND requires students to have completed 60 credits, have a minimum 3.00 grade point

average, plan to complete a Ph.D., and more broadly, be “[c]reative, independent undergraduates

with good writing skills” and “[i]ntellectually curious and interested in conducting research under

faculty guidance.” University of North Dakota, McNair Program, https://und.edu/student-

life/trio/mcnair-program/index.html (last visited Dec. 1, 2024). UW-Madison requires students to

have completed 45 credits, have a minimum 2.8 grade point average, and be “[a]ble to participate

in the program for a minimum of 12 full months (including a full summer)[.]” McNair Scholars

Program, Eligibility, https://mcnair.wisc.edu/become-a-mcnair-scholar/ (last visited Nov. 1,

2024). UND uses rolling admissions for the McNair Program, and UW-Madison uses a set

admission window from about mid-August to October 1. Doc. 15, p. 20; Doc. 1, p. 18. Currently,

as far as this Court is aware, both UND and UW-Madison screen and select applicants using the

racial eligibility criteria.

        Durfee and Rothove allege they are interested in the McNair Program because they plan to

pursue graduate studies. Doc. 1, pp. 3, 4. Both Durfee and Rothove inquired about—but did not

apply for—the McNair Program at their universities. Durfee claims that she “is ready and able to

apply for the McNair Program (and its Pre-McNair Academy subcomponent), but given that

Durfee is white, and not a low-income college student, she did not apply for the McNair Program.

She will not apply so long as that racial requirement remains in effect.” Id. at 14. She asserts that

the “racial eligibility requirement [is] a harm to her personal dignity” and “her ability to apply on



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equal footing for the McNair Program and obtain all its direct and indirect benefits.” Id. Rothove

also “has not and will not apply to the McNair Program so long as the racial eligibility requirement

remains.” Id. at 18. He asserts that the “racial eligibility requirement [is] a harm to his personal

dignity” and “harms his ability to apply on equal footing for the McNair Program and obtain all

its direct and indirect benefits.” Id. The Young America’s Foundation and Young Americans for

Freedom claim they have other “members who are able and ready to apply for the McNair Program

but are ineligible because of their race.” Id. at 21.

        The Plaintiffs filed this case alleging the racial eligibility criteria of the McNair Program

violates the Equal Protection Clause of the United States Constitution, and the regulatory racial

eligibility criteria violates the Administrative Procedure Act. Doc. 1. The Plaintiffs move for a

preliminary injunction “prohibiting Defendants from enforcing or otherwise implementing the

racial and ethnic classifications in 20 U.S.C. §1070a- 15(d) and 34 C.F.R. §§ 647.3 and 647.7.”

Doc. 7., p. 1. The Court held a hearing on the motion for a preliminary injunction on October 16,

2024. Doc. 13.

II.     LAW AND DISCUSSION

        The central dispute between the parties is not on the merits of the Plaintiffs’ case1—it is

standing. The Department argues the Plaintiffs lack standing because, among other things, their

alleged injuries are not redressable. “Article III of the Constitution limits the jurisdiction of federal

courts to “Cases” and “Controversies.” The “case or controversy” requirement is fundamental to

the judiciary’s proper role in our system of government.” Murthy v. Missouri, 144 S. Ct. 1972,




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  Indeed, given recent United States Supreme Court decisions, including Students for Fair
Admissions, Inc. v. President & Fellows of Harvard Coll., 600 U.S. 181 (2023), it seems likely the
racial eligibility criteria fails to satisfy strict scrutiny. No doubt this is why many higher education
institutions have proactively decided to no longer apply it.
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1985 (2024) (quotations and citations omitted). “Standing to sue under Article III ‘is the threshold

question in every federal case . . . .’” Becker v. North Dakota Univ. Sys., 112 F.4th 592, 595 (8th

Cir. 2024) (quoting Warth v. Seldin, 422 U.S. 490, 498 (1975)).

           “To demonstrate Article III standing, a plaintiff must have (1) suffered an injury in fact,

(2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be

redressed by a favorable judicial decision.” Henderson v. Springfield R-12 Sch. Dist., 116 F.4th

804, 809 (8th Cir. 2024) (quotations and citation omitted). “Plaintiffs, as the parties invoking

federal court jurisdiction, bear the burden of establishing these elements.” Arc of Iowa v.

Reynolds, 94 F.4th 707, 710 (8th Cir. 2024). “At the preliminary injunction stage, then, the

plaintiff must make a ‘clear showing’ that she is ‘likely’ to establish each element of standing.”

Murthy, 144 S. Ct. at 1986 (quoting Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 22

(2008)).

       The Department first argues that the Plaintiffs’ alleged injuries are speculative and

hypothetical for two reasons—(1) neither Durfee nor Rothove applied to the McNair Program; and

(2) even if they had applied, neither would be eligible for the McNair Program (irrespective of the

racial eligibility criteria) because they would both fail to meet the low-income, first-generation

eligibility criteria. It is factually true that neither applied to the McNair Program. But in an Equal

Protection case, that fact does not necessarily negate there being an injury in fact. The injury in

fact requirement turns on how the injury is characterized. Here, as alleged by the Plaintiffs, the

injury is “the denial of equal treatment” during the application and admission process. Ne. Fla.

Chapter of Associated Gen. Contractors of Am. v. City of Jacksonville, 508 U.S. 656, 666 (1993).

Put simply, the Plaintiffs allege they are injured because they are being treated differently because




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of their race. In an Equal Protection context, that injury is typically sufficient to establish an injury

in fact. See id., Gratz v. Bollinger, 539 U.S. 244, 262 (2003).

        What presents a closer question is the third standing requirement—redressability.

“Redressability exists when a favorable decision will relieve the plaintiffs of a discrete injury, even

if it does not relieve them of every injury or if the risk of injury ‘would be reduced to some extent

if [the plaintiffs] received the relief they seek.’” Animal Legal Def. Fund v. Reynolds, 89 F.4th

1071, 1078 (8th Cir. 2024) (quoting Massachusetts v. E.P.A., 549 U.S. 497, 526 (2007)).

“Redressability requires that the court be able to afford relief through the exercise of its power, not

through the persuasive or even awe-inspiring effect of the opinion explaining the exercise of its

power.” Haaland v. Brackeen, 599 U.S. 255, 294 (2023) (quoting Franklin v. Massachusetts, 505

U.S. 788, 825 (1992) (Scalia, J., concurring in part and concurring in judgment) (emphasis in

original).

        Recall that the Department awards competitive five-year grants to higher education

institutions that then administer the McNair Program on their campuses. 20 U.S.C. § 1070a-11.

Once the funding is awarded, the higher education institutions—not the Department—select

applicants and administer the Program. There is nothing in the record that indicates that the

Department has any control over the grants once allocated to the institutions. The Plaintiffs were

asked this question at the hearing:

        THE COURT: The Department of Education makes five-year grants to
        universities for the McNair Program. Correct?
        MR. CROY: Correct, Your Honor.
        THE COURT: And the last one was in 2022, and the next one is in 2027. Correct?
        MR. CROY: I think that’s correct, Your Honor. To be honest, I would have to
        double-check on this.
        THE COURT: Okay. So I’m pretty sure that’s correct. So the funding has been
        allocated to the universities, and what control does the Department of Education
        have over the funding that was already allocated?

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       MR. CROY: Your Honor, again, I would go back to the statute and the regulation
       itself are both overseen by the Secretary of Education.
       THE COURT: But what control do they have over that?
       MR. CROY: Well, they’re the ones, Your Honor, that required the assurances in
       the first place in the grant application process about not less than two-thirds
       remainder coming from another. I would presume, Your Honor, there probably is
       some oversight past that to make sure that the grants are actually being complied
       with, but I don’t -- I don’t actually know the answer on that, Your Honor.

Doc. 15, pp. 48-49. The Court asked the Department the same question:

       THE COURT: I had asked this – I’ve asked this once, but I’m just going to ask it
       again to make sure that I understand it correctly. The Department of Education does
       enforce the McNair Program, but the role that the Department of Education has in
       enforcing it is really mostly pre-allocation of money. Maybe there’s some quality
       control checks that are out there and something that happens after that, but really,
       beyond that, it’s just pre-allocation of money and then move on to the next phase.
       Is that a fair statement?

       MR. CLENDENEN: Your Honor, I think that’s mostly fair just based on what --
       the information we have available. Most of the -- the sort of heavy lifting that the
       Department of Education does is in deciding what schools get the grants, which is
       a five-year cycle. After the schools get the grants, they still have to send those
       assurances, the assurances in the statute that, you know, at least two-thirds are low-
       income and that anyone else fits under the underrepresented category. They have
       to send those to the Department of Education. I don’t think there’s anything that
       the Department has to do other than just receive those. And then under the
       regulation (c)(3) bucket, if schools are trying to do a case-by-case statistical
       analysis to show, you know, for example, you know, transgender students in
       physics are underrepresented, then that goes to the Department of Education for
       approval, too. But other than that, I don’t believe there’s anything in the -- in the -
       - in the record that the Department of Education really does as far as, like, a quality
       check.

Id. at 78-79.

       As the record shows, the Plaintiffs’ alleged injuries will not be redressed by an injunction

and favorable decision because the higher education institutions are also part of the administration

of the Program. And beyond that, those institutions already received funding from the Department

for the McNair Program through 2027. So, through 2027, UND and UW-Madison exclusively

control the McNair Program’s admission decisions and its funding allocation to admitted


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participants, not the Department. Problematically though, UND and UW-Madison are not parties.

A favorable decision for the Plaintiffs would not remedy the injuries because UND and UW-

Madison are not bound by the Court’s order and decision.

       Said another way, the Court has no recourse in preventing UND and UW-Madison from

continuing to admit students under the challenged criteria. The Plaintiffs specifically ask for

injunctions: (1) prohibiting the Department “from enforcing or otherwise implementing the racial

and ethnic classifications in 20 U.S.C. §1070a– 15(d) and 34 C.F.R. §§ 647.3 and 647.7” and (2)

requiring that the Department notify universities participating in the McNair Program that they

cannot impose or rely in these classifications.2 Doc. 7, p. 1. But the injunctive relief and order

would not be against UND or UW-Madison because they are not parties. Again, “[r]edressability

requires that the court be able to afford relief through the exercise of its power, not through the

persuasive or even awe-inspiring effect of the opinion explaining the exercise of its power.”

Haaland, 599 U.S. at 294 (emphasis in the original). Any order in this case as to UND and UW-

Madison would have only persuasive impact because the institutions are not parties. Providing the

Plaintiffs’ requested “notice” to UND and UW-Madison is akin to this Court simply explaining

the exercise of its power, without actual control over those institutions.




2
  Even assuming that Plaintiffs have standing, there are concerns whether the Court can award this
type of injunction. In Griffin v. HM Florida-ORL, LLC, the Supreme Court denied an application
for a stay of a district court’s judgment that enjoined Florida from enforcing a newly passed state
law against the plaintiff and other non-parties to the litigation. 144 S. Ct. 1 (2023). In denying the
stay, the Supreme Court stated that “[n]o federal statute expressly grants district courts the power
to enter injunctions prohibiting government enforcement against non-parties in the circumstances
presented in this case.” Id. at 2. While Griffin was a First Amendment case, the Supreme Court
noted more broadly “[t]he question of whether a district court, after holding that a law violates the
Constitution, may nonetheless enjoin the government from enforcing that law against non-parties
to the litigation is an important question that could warrant our review in the future.” Id.
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       Haaland v. Brackeen is controlling and instructive. In that case, the Supreme Court

dismissed for a lack of standing based on similar facts. In Haaland, a birth mother, along with

foster and adoptive parents, sued the United States to challenge the constitutionality of the Indian

Child Welfare Act. Id. at 264. The plaintiffs sought “an injunction preventing the federal parties

from enforcing ICWA and a declaratory judgment that the challenged provisions are

unconstitutional.” Id. at 292. But the Supreme Court stated that “enjoining the federal parties

would not remedy the alleged injury, because state courts apply the placement preferences, and

state agencies carry out the court-ordered placements.” Id. at 292-93. The Supreme Court also

explained:

       The state officials who implement ICWA are not parties to the suit, and there is no
       reason they should be obliged to honor an incidental legal determination the suit
       produced. So an injunction would not give petitioners legally enforceable
       protection from the allegedly imminent harm.

Id. at 293 (internal citation and quotations omitted).

       The same is true here. While an injunction against the racial eligibility criteria in the statute

and code would alter how funding is awarded by the Department in 2027, without the higher

education institutions counterpart as parties, “an injunction would not give petitioners legally

enforceable protection from the allegedly imminent harm.” Id. And of course, “[w]ithout

preclusive effect, a declaratory judgment is little more than an advisory opinion.” Id. (citing Public

Serv. Comm’n of Utah v. Wycoff Co., 344 U.S. 237, 242-43 (1952)).

       Because the Department does not control the funding and admissions for the McNair

Program exclusively, and because UND and UW-Madison (as the higher education counterpart to

the Department) are not parties, the Plaintiffs’ alleged injuries are not redressable by a favorable




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decision. And because the injuries are not redressable, given the specific posture and parties of this

case, the Plaintiffs lack Article III standing.3

III.    CONCLUSION

        Again, the merits of this case are largely undisputed. But the McNair Program is not

exclusively administered by the Department. The appropriate higher education institutions that

also administer and develop the Program are missing from this case. Without those institutions,

the Plaintiffs’ alleged injuries are not redressable. Given the lack of Article III standing, the

Plaintiffs’ motion for a preliminary injunction (Doc. 7) is DENIED, and the case is DISMISSED

WITHOUT PREJUDICE for lack of subject matter jurisdiction.

        IT IS SO ORDERED. LET JUDGMENT BE ENTERED ACCORDINGLY.

        Dated this 31st day of December, 2024.

                                                        /s/ Peter D. Welte
                                                        Peter D. Welte, Chief Judge
                                                        United States District Court




3
 A lack of redressability axiomatically also results in a lack of associational standing for Young
Americans for Freedom and the Young America’s Foundation.
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